    Case 3:22-cv-00211-SDD-SDJ         Document 274   09/06/23 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                 Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                      Plaintiffs,

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                    Defendant.


EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
                     Plaintiffs,              Civil Action No. 3:22-cv-00214-SDD-RLB

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                Defendant.
        Case 3:22-cv-00211-SDD-SDJ            Document 274       09/06/23 Page 2 of 6




  NOTICE OF ROBINSON AND GALMON PLAINTIFFS’ PROPOSED PREHEARING
                            SCHEDULE

       Pursuant to this Court’s order dated September 1, 2023, [ECF 272] Plaintiffs in the above

captioned cases hereby notify the Court of their proposed discovery and briefing schedule in

advance of the remedial hearing scheduled for October 3-5, 2023.

       1.      On August 25, 2023, Defendants filed an emergency motion to cancel the remedial

hearing. Plaintiffs objected to Defendants’ motion in part on the ground that deferring adoption of

a remedy would risk that Louisiana voters would again be forced to endure an election under an

unlawful map. The Court denied Defendants’ motion on August 29, 2023.

       2.      The Court held scheduling conferences on August 30 and September 1, 2023,

during which the parties shared their proposals for a pre-hearing schedule. ECF Nos. 271-72. The

parties have since exchanged communications and failed to reach consensus on a pre-hearing

scheduling order.

       3.      At the September 1 conference, the Court offered to hold the remedial hearing the

week of October 16, 2023, or the week of November 6, 2023, if the parties so stipulated. Plaintiffs

now renew their objection to deferring the remedial hearing and ask that it go forward as scheduled

on October 3-5, 2023. Plaintiffs reiterate that time is of the essence in this case, as Defendants

have never conceded any date before which a new map could be implemented without disruption

to the November 2024 election.

       4.      “This case has been extensively litigated.” Order, ECF No. 267. Before the

Supreme Court stayed the action last year, the “preparation necessary for the remedial hearing was

essentially complete” in June 2022. Id. at 2 (“The Defendants elected not to prepare any remedial

maps. The Plaintiffs disclosed proposed remedial maps; witnesses and exhibits were disclosed;

expert reports were disclosed; and Defendants deposed Plaintiffs’ identified experts.”). The



                                                2
        Case 3:22-cv-00211-SDD-SDJ             Document 274        09/06/23 Page 3 of 6




purpose of the remedial hearing is not to relitigate the first Gingles precondition or any other

element of Plaintiffs’ Section 2 claims that were determined at the liability phase of the preliminary

injunction. As the Court has recognized, the “only remaining issue is the selection of a

congressional district map” that cures the likely violation of the Voting Rights Act identified by

the Court in its June 6, 2022 Opinion and Order. Id.; see also ECF No. 173. That “limited inquiry,”

id., is all the Court should consider at the remedial hearing. See Milligan v. Allen, Case No.

2:210cv01530-AMM, Order (N.D. Ala., Aug. 6, 2023), at 10-11 (purpose of “remedial proceeding

is to determine whether [the proposed remedial plan] remediates that likely violation of Section

Two that we found,” “not [to] relitigate the findings we made in connection with that liability

determination”).

       5.      As time is of the essence, Plaintiffs are willing to forego the opportunity to submit

a new map, and instead rest on the previous submission to the Court. See ECF No. 225. The

Plaintiffs propose the following pre-hearing schedule for discovery, briefing, and exchange of

witness and exhibit lists.

                                    Event                                       Plaintiffs’ Proposed
                                                                                     Deadline
Parties Serve Fact Witness Disclosures                                          September 14, 2023

Parties Serve Expert Reports (Supplemental and New)                             September 15, 2023

Parties Disclose Rebuttal Expert Witnesses                                      September 18, 2023

Parties Serve Rebuttal Expert Reports                                           September 28, 2023

Parties File Witness and Exhibit Lists                                          September 29, 2023

Parties File Pre-Hearing Briefs (30 pages per side)                             September 29, 2023
                                                                                  October 3, 2023-
Remedial Hearing
                                                                                  October 5, 2023




                                                  3
        Case 3:22-cv-00211-SDD-SDJ             Document 274       09/06/23 Page 4 of 6




       6.      This proposed schedule is similar to the schedule proposed by the Defendants. The

dates match exactly. The only difference is that Plaintiffs’ proposed schedule provides a reciprocal

opportunity for both sides to supplement the remedial record, while Defendants’ schedule provides

that opportunity only to the Defendants, precluding plaintiffs from offering supplemental analysis

of the proposed remedial plan, including analysis of the results of the 2022 mid-term elections.

Plaintiffs believe providing all parties the opportunity to supplement the record will aid the court

in its determination of the remedial issues.

       7.      In proposing this schedule, Plaintiffs do not waive the right to object to the scope

of Defendants’ expert reports and any testimony or other evidence Defendants offer to the extent

that evidence addresses issues beyond the limited scope of the remedial hearing.




                                                 4
       Case 3:22-cv-00211-SDD-SDJ      Document 274         09/06/23 Page 5 of 6




Date: September 6, 2023                Respectfully submitted,


 By: /s/ Abha Khanna                          By: /s/ Amitav Chakraborty
 Abha Khanna                                  Amitav Chakraborty
 Jonathan P. Hawley                           Jonathan H. Hurwitz
 ELIAS LAW GROUP LLP                          Robert A. Atkins
 1700 Seventh Ave. Suite 2100                 Yahonnes Cleary
 Seattle, Washington 98101                    Adam P. Savitt
 (206) 656-0177                               PAUL, WEISS, RIFKIND, WHARTON &
 akhanna@elias.law                            GARRISON LLP
 jhawley@elias.law                            1285 Avenue Of The Americas, New
                                              York, NY 10019
 Lalitha D. Madduri                           Tel.: (212) 373-3000
 Jacob D. Shelly                              Fax: (212) 757-3990
 ELIAS LAW GROUP LLP                          achakraborty@paulweiss.com
 250 Massachusetts Ave, NW Suite 400          jhurwitz@paulweiss.com
 Washington, D.C. 20001                       ratkins@paulweiss.com
 (202) 968-4490                               ycleary@paulweiss.com
 lmadduri@elias.law                           asavitt@paulweiss.com
 jshelly@elias.law
                                              John Adcock
 J. E. Cullens, Jr.                           Adcock Law LLC
 Andrée Matherne Cullens                      3110 Canal Street
 S. Layne Lee                                 New Orleans, LA 70119
 WALTERS, THOMAS, CULLENS, LLC                Tel: (504) 233-3125
 12345 Perkins Road, Bldg. One                jnadcock@gmail.com
 Baton Rouge, LA 70810
 (225) 236-3636                               Stuart Naifeh
                                              Leah Aden
 Counsel for Galmon Plaintiffs                Victoria Wenger
                                              NAACP Legal Defense and Educational
                                              Fund, Inc.
                                              40 Rector Street, 5th Floor
                                              New York, NY 10006
                                              Tel: (212) 965-2200
                                              laden@naacplef.org
                                              snaifeh@naacpldf.org
                                              vwenger@naacpldf.org




                                              Counsel for Robinson Plaintiffs
                                              (Continued on next page)


                                          5
      Case 3:22-cv-00211-SDD-SDJ            Document 274       09/06/23 Page 6 of 6




Sarah Brannon                                    Sophia Lin Lakin
American Civil Liberties Union Foundation        American Civil Liberties Union
915 15th St., NW                                 Foundation
Washington, DC 20005                             125 Broad Street, 18th Floor
sbrannon@aclu.org                                New York, NY 10004
                                                 slakin@aclu.org
R. Jared Evans
I. Sara Rohani (admitted pro hac vice)           T. Alora Thomas-Lundborg
NAACP Legal Defense and Educational              Election Law Clinic
Fund, Inc.                                       Harvard Law School
700 14th Street N.W. Ste. 600                    6 Everett Street, Ste. 4105
Washington, DC 20005                             Cambridge, MA 02138
Tel: (202) 682-1300                              (617) 495-5202
jevans@naacpldf.org                              tthomaslundborg@law.harvard.edu
srohani@naacpldf.org
                                                 Nora Ahmed
                                                 ACLU Foundation of Louisiana
Tracie L. Washington                             1340 Poydras St, Ste. 2160
Louisiana Justice Institute                      New Orleans, LA 70112
Suite 132                                        Tel: (504) 522-0628
3157 Gentilly Blvd                               nahmed@laaclu.org
New Orleans LA, 70122                            msnider@laaclu.org
Tel: (504) 872-9134
tracie.washington.esq@gmail.com


                                                 Counsel for Robinson Plaintiffs




                                             6
